[NOT FOR PUBLICATION]

UNITED STATES COURT OF APPEALS
FOR THE FIRST CIRCUIT

No. 97-1951

UNITED STATES OF AMERICA,

Plaintiff, Appellee,

         v.

   SANDY PICHARDO,

Defendant, Appellant.

APPEAL FROM THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF PUERTO RICO

[Hon. Hector M. Laffitte, U.S. District Judge]

       Before

Selya, Circuit Judge,

Coffin and Cyr, Senior Circuit Judges.

Mauricio Hernandez Arroyo for appellant.
Mark Irish, Assistant United States Attorney, with whom Guillermo Gil, United States Attorney, Jorge E. Vega-Pacheco, Assistant United States Attorney, and Nelson Prez-Sosa, Assistant United States Attorney, were on brief for appellee.

March 26, 1999
     Per curiam.  Following oral argument and careful consideration of the briefs and record on appeal, we reject as groundless appellant's claim that the district court erred in rejecting his belated request for a downward adjustment for acceptance of responsibility, inasmuch as he has never fully acknowledged either his leadership role in the offenses of conviction or his possession of a weapon during the commission of the offenses charged.
Affirmed.
